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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 18-cv-60449-KMM


  EMILY FULLER,

                     Plaintiff,                         CONSENT DECREE AND ORDER
                                                        FOR INJUNCTIVE, MONETARY
         v.                                             AND OTHER RELIEF

  GITI ONLINE, INC., a Florida for-profit
  corporation;

                     Defendant.


         1.      EMILY FULLER (“Plaintiff”) filed a Complaint on March 1, 2018, against GITI

  ONLINE, INC., a Florida for-profit corporation, (the “Defendant”), alleging that the Defendant

  failed to design, construct, and maintain its website, www.gitionline.com (the “Website”) in a

  manner that is fully accessible to and independently usable by Plaintiff and other blind or

  visually-impaired people. Plaintiff alleges this resulted in a denial of full and equal access to its

  Website, and the products and services offered on the Website, in violation of Title III of the

  Americans with Disabilities Act (“ADA”) (42 U.S.C. § 12101 et seq.). Plaintiff also alleges that

  the Defendant committed a trespass against Plaintiff’s personal property.

         2.      The Defendant denies the allegations in the Complaint, and by entering into this

  Consent Decree and Order does not admit liability to any of the allegations in Plaintiff’s

  Complaint. The Parties enter into this Consent Decree and Order for the purpose of resolving

  this lawsuit without the need for protracted litigation, and without the admission of any liability.

         3.      To avoid the costs, expense, and uncertainty of protracted litigation, the Parties to

  this Consent Decree agree to entry of this Order to resolve all claims regarding injunctive relief

  and damages raised in the Complaint. Accordingly, they agree to the entry of this Order without

  trial or further adjudication of any issues of fact or law concerning Plaintiff’s claims for
  injunctive relief or damages.
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         4.      This Order shall be a full, complete, and final disposition and settlement of

  Plaintiff’s claims against the Defendant for injunctive relief and damages that have arisen out of

  the subject Complaint. The Parties agree that there has been no admission or finding of liability

  or violation of the ADA and/or any other state or federal civil rights, consumer protection, or

  privacy laws, and this Consent Decree and Order should not be construed as such.

                                        I. JURISDICTION

          5.     The Parties to this Consent Decree agree that the Court has jurisdiction of this

  matter pursuant to 28 USC §1331 for alleged violations of the Americans with Disabilities Act of

  1990, 42 USC § 12101 et seq., and the tort of trespass.

                                    II. INJUNCTIVE RELIEF

          6.     The Defendant will, within twelve (12) months of the Effective Date (defined in

  Section VII), use good faith efforts to cause the Website to substantially conform with the Web

  Content Accessibility Guidelines 2.0 (WCAG) Level AA to the extent readily achievable.

  Should the Department of Justice issue final regulations adopting a legal standard for website

  accessibility that is different from the WCAG 2.0 Level AA, the Defendant shall have the option

  of complying with that legal standard, which option it may exercise in its sole discretion.

  Notwithstanding the foregoing, the Defendant will make reasonable efforts to use only third-

  party content that conforms to WCAG 2.0 Level AA.
                                    III. MONETARY RELIEF

         7.      The Defendant will provide as additional consideration in resolution of all claims

  that were or could have been made in this or any related action, a monetary sum, as set forth in a

  Confidential Addendum executed between the Parties separately from this Consent Decree.

  Plaintiff agrees that neither she nor her attorneys are entitled to any other monetary

  compensation as a result of the Confidential Addendum, this Consent Decree, or any other claim

  Plaintiff might have against the Defendant.

                      IV.     ENTIRE CONSENT DECREE AND ORDER




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         8.      This Consent Decree and Order, together with the Confidential Addendum

  referenced in Paragraph 7, constitutes the entire agreement between the Parties on the matters of

  injunctive relief and damages, attorneys’ fees, litigation expenses and costs, and no other

  statement, promise, or agreement, either written or oral, made by any of the Parties or agents of

  any of the Parties, that is not contained in this written Consent Decree and Order, shall be

  enforceable regarding the matters described herein.

                                   V.      RELEASE OF CLAIMS

         9.      For and in consideration of the promises, commitments and undertakings set forth

  in this Consent Decree, and for other good and valuable consideration, the receipt of which is

  hereby acknowledged, Plaintiff, on behalf of himself and any of his agents, employees,

  representatives, assigns, heirs, executors, trustees, partners and attorneys, and each of them

  (“Releasors”), shall be deemed to have jointly and severally forever released and discharged the

  Defendant, its affiliates and related entities, together with its respective past, present, and future

  officers, directors, employees, agents, stockholders, attorneys, servants, representatives, parent

  entities, subsidiary entities, other related entities, partners, insurers, contractors, independent

  consultants, and the predecessors, successors, heirs, executors, administrators and assigns of each

  of the foregoing (“Releasees”), from any and all claims, causes of action, suits, demands, rights,

  liabilities, damages, lawsuits, legal proceedings, losses, fees, costs and expenses of any kind
  whatsoever, whether known or unknown, including, but not limited to, any monetary, injunctive

  or declaratory relief relating thereto, and for reimbursement of attorney’s fees, costs and

  expenses, specifically relating to the Website, the Defendant’s other digital assets (websites and

  mobile apps), and the Complaint (“Released Claims”). Plaintiff, on his own behalf and on behalf

  of the other Releasees, acknowledges that Released Claims may include claims that are presently

  unknown, and that the release contained in this Consent Decree is intended to and does fully,

  finally and forever discharge all Released Claims, whether now asserted or unasserted, known or

  unknown, which arise out of or in connection with the Released Claims.




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         10.     Plaintiff acknowledges that she may hereafter discover facts different from, or in

  addition to, those which she now believes to be true with respect to the Released Claims. On her

  own behalf and on behalf of all of the Releasees, Plaintiff agrees that the foregoing release and

  waiver shall be and remain effective in all respects notwithstanding such different or additional

  facts or discovery thereof, and that this Consent Decree contemplates the extinguishment of all

  such Released Claims. By executing this Consent Decree, Plaintiff acknowledges the following:

  (a) she is represented by counsel of her own choosing; and (b) she has been specifically advised

  by her counsel of the consequences of the above waiver and this Consent Decree generally.

         11.     Plaintiff expressly covenants that, as against Defendant, she has not and will not

  file, initiate, commence, institute, maintain, or prosecute any action at law, suit in equity or other

  proceeding, or seek damages or other relief incurred or allegedly incurred by her, related to,

  arising out of, or in any way connected with the Complaint or any Released Claim.

         VI.     ORDER BINDING ON PARTIES AND SUCCESSORS IN INTEREST

         12.     This Consent Decree and Order shall be binding on Plaintiff, the Defendant and

  any successors in interest. The Parties have a duty to so notify all such successors in interest of

  the existence and terms of this Consent Decree and Order during the period of the Court’s

  jurisdiction of this Consent Decree and Order.

         14.     Signatories on the behalf of the Parties represent that they are authorized to bind
  the Parties to this Consent Decree and Order. This Consent Decree and Order may be signed in

  counterparts and a facsimile or email signature shall have the same force and effect as an original

  signature.

                   VII.    TERM OF THE CONSENT DECREE AND ORDER

         15.     This Consent Decree and Order shall become effective on the date the Order is

  signed by the Court (“Effective Date”).

         16.     This Consent Decree and Order shall be in full force and effect and expire by its

  own terms at the end of twelve (12) months from the Effective Date without further action by the
  Parties (“Expiration Date”).


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                31st      August
